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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF VIRGINIA
                                  Richmond Division

LYNDA B. HARRIS,

                              Plaintiff,

v.                                                         Civil Action No. 3:20cv625

AMERICAN CORADIUS INTERNATIONAL LLC,

                              Defendant.

                                 NOTICE OF SETTLEMENT

        Plaintiff Lynda B. Harris and Defendant American Coradius International LLC, by

Counsel, hereby notify the Court that the aforementioned parties have settled Plaintiff’s claims

and are in the process of completing the necessary documents and filing of a notice of voluntary

dismissal with prejudice. The parties request that the Court retain jurisdiction for any matters

related to completing and/or enforcing the settlement.

                                                    Respectfully submitted,
                                                    LYNDA B. HARRIS
                                                    By Counsel

_/s/______________________________
Dale W. Pittman, VSB #15673
Counsel for Plaintiff
THE LAW OFFICE OF DALE W. PITTMAN, P.C.
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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 15th day of September, 2020, I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system, which will then send a notification
of such filing (NEF) to all parties.

                                    _/s/___________________________________
                                    By: Dale W. Pittman, VSB#15673
                                    Counsel for Plaintiff
                                    THE LAW OFFICE OF DALE W. PITTMAN, P.C.
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